

Cantor v Madison Sq. Garden Co. (2021 NY Slip Op 05623)





Cantor v Madison Sq. Garden Co.


2021 NY Slip Op 05623


Decided on October 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 14, 2021

Before: Kapnick, J.P., Singh, Shulman, Pitt, Higgitt, JJ. 


Index No. 151656/16 Appeal No. 14381 Case No. 2021-00165 

[*1]Robert Cantor, Plaintiff-Appellant,
vThe Madison Square Garden Company et al., Defendants-Respondents.


Ogen &amp; Sedaghati, P.C., New York (Eitan Alexander Ogen of counsel), for appellant.
Wilson, Elser, Moskowitz, Edelman &amp; Dicker LLP, New York (Larry H. Lum of counsel), for respondents.



Order, Supreme Court, New York County (Arlene P. Bluth, J.), entered on or about August 12, 2020, which granted defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
Plaintiff commenced this action to recover for personal injuries he allegedly sustained while attending a hockey game at Madison Square Garden. Plaintiff alleged that he was seated behind plexiglass along the side of the ice rink when he was struck by a puck that was deflected over the ice rink's plexiglass barrier. The Supreme Court, in its well-reasoned opinion, properly determined that defendants met their prima facie burden through sufficient proof that they satisfied the duty of care owed to plaintiff (see Rosa v County of Nassau , 153 AD2d 618, 619 [2d Dept 1989]; see also Stern v Madison Sq. Garden Corp. , 226 AD2d 444, 445 [2d Dept 1996]). We reject plaintiff's attempt to turn defendants into insurers of the safety of spectators seated behind the plexiglass (Rosa  at 619). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 14, 2021








